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                                                                                            47 Vine Street
                                                                               North Attleboro, MA 02760
                                                                                     September 22, 2022


 The Honorable Gonzalo P. Curiel
 Edward J. Schwartz Courthouse
 221 West Broadway
 San Diego, CA 92101

 Re: United States of America v. Mark D. Manoogian et al
     Case No. 18-CR-46836-GPC

 Dear Justice Curiel:

          My name is David C. Manoogian and I am the father of the defendant, Mark D. Manoogian. I
 write this letter in behalf of Mark and his upcoming sentencing.

          I am an attorney in the Commonwealth of Massachusetts and I have been practicing law
 continuously since 1979. lam in the process of winding down my practice so that I can fully retire and
 spend precious time with my six grandchildren, located in New Jersey, California and Arizona. Suffice to
 say I am familiar with criminal procedure in the federal and Massachusetts courts, and I have guided
 clients through the sentencing process.

        My wife, Judy and I have been married since July of 1977 and raised three children, Mark,
 Matthew and Alexandra. My children had the benefit of being reared with significant exposure to
 extended family and they enjoyed maternal and paternal grandparents who lived within 19 miles of our
 home in North Attleboro, Massachusetts and were integral parts of their upbringing.

          Judy and I worked hard to provide the best education possible for our children. Mark and
 Matthew graduated from New England Law School and Alexandra holds a masters in nursing from
 Boston College. We are proud of all of our children and their accomplishments. Most importantly, they
 are all happily married to spouses who share their values and love of family.

         Mark is married to Nicole Manoogian and they have two sons, Max and Theo, ages 5 and 2
 respectively. Both sons are reflections of their parents in that they are smart, loving and kind
 individuals. Max has been recently diagnosed with autism and both Nicole and Mark have taken all
 necessary steps and dedicated enormous efforts, resources and time (and will do so in the future) to
 ensure Max will lead a productive childhood and adult life.

         With the foregoing brief background, please allow me to focus on Mark.

          Mark received many citizenship and academic awards during his high school career at North
 Attleboro High School where he also lettered in four varsity sports; soccer, football, basketball and
 baseball. Although soccer was not his favorite sport, he tried out and made the varsity soccer team so
 that he was able to play with his older brother, Matt, during Matt's senior year. Mark went on to
 graduate from Tulane University which he attended on a partial academic scholarship and thereafter
 graduated from New England Law School and is now a member of the Massachusetts Bar.
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         While Mark's academic, citizenship, athletic and professional accomplishments are numerous
 and notable, as his father I am most proud of the young man he has been and continues to be. Mark is
 kind, empathetic, honest and hardworking. I believe Mark practices the values Judy and i have
 attempted to instill in all of our children. He is a loving father who is intimately involved in his children's
 upbringing and a loyal and loving husband to his wife, Nicole.

          Mark would, in high school and college, come to the defense of classmates that were put upon
 by bullies and care for stray animals. These actions are but one indicium of what I believe is Mark's
 exemplary character.

          As Mark's dad, I will never waiver in the support and love of Mark and find the government's
 allegations against him to be out of character with the Mark I know and have raised.

          Now I respectfully digress since I believe I would be remiss, given my professional background, if
 I did not comment upon the government's case in general and the affect these proceedings have had on
 Mark and his family as well as on Judy and me and Mark's siblings.

            am thankful that Mark has received the benefit of exemplary counsel provided by Randy Jones
 and his staff. Randy has guided Mark through these proceedings on an interpersonal and professional
 level. All court proceedings are difficult for the participants and their families given the uncertainties
 inherent thereto, but these proceedings have been very difficult for Mark, professionally and
 emotionally, all because the indictment and counts against him run contrary to his character and job
 performance. The delays necessitated by the Covid-19 outbreak have only exacerbated the anxiety
 attendant in all criminal proceedings.

          I have reviewed the indictment, and those pleadings, motions, and this Honorable Court's
 rulings that are of public record and attended opening arguments. I also understand the reasons for my
 son's plea agreement. That being said, I ask you to please consider all of the circumstances attendant to
 the back drop of this case (which I am sure Attorney Jones will state during the sentencing hearing and
 the court is welt aware of based upon the extensive pre-trial motion practice in this case) and give
 weight to the fact that my son was an employee following the instructions of his management and in
 house counsel which he believed, in good faith, were appropriate; Mark has no prior criminal record;
 and no victims or losses appear to be definable in this case.

         Thank you for considering the above.

                                                            Very truly 0



                                                             David      anoogian
